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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                           Chapter 11

OLD LADDER CO. (DE), INC.                        Case No.: 06-10578 (KJC)
f/k/a WERNER HOLDING CO. (DE), INC.,             (Jointly Administered)
et al.
               Debtors


                               ORDER SUR:
         MOTION FOR RELIEF FROM STAY TO ALLOW DETERMINATION OF
            STATE-COURT CROSS CLAIMS AGAINST OLD LADDER CO.


         AND NOW, this _______ day of _______________, 2016, upon consideration of the
above-referenced Motion (the "Motion") of True Value Company, TruServ Corporation,
Servistar Coast to Coast Corporation, Servistar Corporation, Coast to Coast Corporation, and
Cotter & Co. (collectively, the "True Value Parties"), and any response thereto, it is hereby
ORDERED that the Motion is GRANTED as follows:
         The automatic stay imposed by 11 U.S.C. § 362, and any injunctive provisions of the the
confirmed Plan and Confirmation Order, are hereby lifted and modified for the limited purposes
of allowing the True Value Parties to litigate their cross claims against Old Ladder Col, and the
Liquidation Trust in the lawsuit in the Philadelphia Court of Common Pleas, styled as Raza et al.
v. New Werner Holding Company, Inc., et. al., December Term, 2010 No. 001073 (the
"Philadelphia Action"), including taking any actions related to bringing those claims to a final
determination by Philadelphia court and any appeals from such a determination.
                                                           BY THE COURT


                                                           __________________________
                                                           J.
